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 4                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
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       UNITED STATES OF AMERICA,                )    No. CR-09-015-EFS-25
 7                                              )
                    Plaintiff,                  )    ORDER GRANTING UNOPPOSED
 8                                              )    MOTION TO MODIFY CONDITIONS
       v.                                       )    OF RELEASE
 9                                              )
       KURTIS L. GILLESPIE, a/k/a               )
10     “Dave,”                                  )
                                                )
11                  Defendant.                  )
                                                )
12                                              )

13          BEFORE THE COURT is Defendant’s unopposed Motion to modify.                 For

14    good cause, IT IS ORDERED that the Defendant’s Motion (Ct. Rec.

15    1181) is GRANTED.        Defendant’s curfew is lifted and he no longer

16    shall be subject to a curfew.

17          DATED November 10, 2009.

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19                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE - 1
